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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 2:95-0198-03

LENNIE JOHN,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Expedited consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       The defendant’s original offense conduct resulted in a base offense level of 38, and a

criminal history category of III. The defendant had no other enhancements or reductions, with the
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exception of a two-level enhancement for possessing a weapon, and three-level reduction for

acceptance of responsibility, resulting in a total offense level of 37. His original guideline range was

262 to327 months, reduced to 240 months as the statutory maximum. The court then departed to

a sentence of 180 months under U.S.S.G. 5H1.1. The United States has indicated that it does not

object to a two-level reduction in the defendant’s sentence.

       Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by two levels, resulting in a new total offense level of 35,

and a guideline range of 210 to 240 months. Pursuant to U.S.S.G. § 1B1.10(b)(2)(B) (providing

comparable reductions for departures that predate United States v. Booker, 543 U.S. 220 (2005)),

it is further ORDERED that Defendant’s previous sentence be reduced to a period of 171 months,

with credit for time served to date. This Order is subject to the prohibition contained within

U.S.S.G. §1B1.10(b)(2)( C).

       The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.



                                               ENTER:           June 27, 2008
